            Case 18-20693-tnw                       Doc          Filed 01/21/21 Entered 01/21/21 14:56:39                                  Desc Main
   )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH                Document     Page 1 of 7
Debtor 1                 6DQGUD.6WHUOLQJ
                         ___B_______B_____BB_________BBBBB___________________________BBBBBBBB_


Debtor 2                 _______BB____________BBBBB_______________BBBBBBBBBBBBBBBBBB_BBBBBBBB_
(Spouse, if filing)

                                        (DVWHUQ'LVWULFWRI.HQWXFN\
8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH:BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

             
&DVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBB



 2IILFLDO)RUP 410S1
 1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                                                                                                     

 ,IWKHGHEWRU¶VSODQSURYLGHVIRUSD\PHQWRISRVWSHWLWLRQFRQWUDFWXDOLQVWDOOPHQWVRQ\RXUFODLPVHFXUHGE\DVHFXULW\LQWHUHVWLQWKH
 GHEWRU¶VSULQFLSDOUHVLGHQFH\RXPXVWXVHWKLVIRUPWRJLYHQRWLFHRIDQ\FKDQJHVLQWKHLQVWDOOPHQWSD\PHQWDPRXQW)LOHWKLVIRUP
 DVDVXSSOHPHQWWR\RXUSURRIRIFODLPDWOHDVWGD\VEHIRUHWKHQHZSD\PHQWDPRXQWLVGXHSee Bankruptcy Rule 3002.1.
 1DPHRIFUHGLWRU                                                                                                           
                                                                                                 &RXUWFODLPQR LINQRZQ BBBBBBBBBBBBBBBBBBBBBBB
 :(//6)$5*2%$1.1$




                                                                                                 'DWHRISD\PHQWFKDQJH
                                                                                                 Must be at least 21 days after date
                                                                                                 of this notice                             
                                                                                                                                            _____________


                                                                                                 1HZWRWDOSD\PHQW
                                                                                                                                             
                                                                                                                                            $____________BBBB
                                                                                                 Principal, interest, and escrow, if any
 /DVWGLJLWVof any number you use to
 LGHQWLI\WKHGHEWRU¶VDFFRXQW                                    ____
                                                                  ____  ____
                                                                           ____
                                                                              

   3DUW           (VFURZ$FFRXQW3D\PHQW$GMXVWPHQW

     :LOOWKHUHEHDFKDQJHLQWKHGHEWRU¶VHVFURZDFFRXQWSD\PHQW"

            No
        ✔
            <HV$WWDFKDFRS\RIWKHHVFURZDFFRXQWVWDWHPHQWSUHSDUHGLQDIRUPFRQVLVWHQWZLWKDSSOLFDEOHQRQEDQNUXSWF\ODZ'HVFULEHWKHEDVLV
             IRUWKHFKDQJH,IDVWDWHPHQWLVQRWDWWDFKHGH[SODLQZK\



                                        
             &XUUHQWHVFURZSD\PHQWBBBBBBBBBBBBBBBBB                                                                         
                                                                                                           1HZHVFURZSD\PHQWBBBBBBBBBBBBBBBBB

  3DUW0RUWJDJH3D\PHQW$GMXVWPHQW

     :LOOWKHGHEWRU¶VSULQFLSDODQGLQWHUHVWSD\PHQWFKDQJHEDVHGRQDQDGMXVWPHQWWRWKHLQWHUHVWUDWHRQWKHGHEWRU V
        YDULDEOHUDWHDFFRXQW"
        ✔
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
             DWWDFKHGH[SODLQZK\



             &XUUHQWLQWHUHVWUDWHBBBBBBBBBBBBBBBBBB                                      1HZLQWHUHVWUDWHBBBBBBBBBBBBBBBBBB

             &XUUHQWSULQFLSDODQGLQWHUHVWSD\PHQW $ ______________BBB_                   1HZSULQFLSDODQGLQWHUHVWSD\PHQW $ ___________BBB____

  3DUW2WKHU3D\PHQW&KDQJH


        :LOOWKHUHEHDFKDQJHLQWKHGHEWRU¶VPRUWJDJHSD\PHQWIRUDUHDVRQQRWOLVWHGDERYH"
           ✔
               No
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
            5HDVRQIRUFKDQJH



                      &XUUHQWPRUWJDJHSD\PHQWBBBBBBBBBBBBBBBBB                             1HZPRUWJDJHSD\PHQWBBBBBBBBBBBBBBBBB
                                                                                                 
 Official Form 410S1                                                  1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                               page 1
              6DQGUD.6WHUOLQJ                                                                          
        Case 18-20693-tnw
      Debtor 1                                Doc Filed        01/21/21 Entered 01/21/21
              _____BB_________________________________________________
              First Name       Middle Name    Last Name
                                                                                               14:56:39
                                                                                  Case number (LINQRZQ)           Desc Main
                                                                                                         ______________________
                                                   Document            Page 2 of 7
 3DUW 6LJQ+HUH


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 &KHFNWKHDSSURSULDWHER[

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHLQIRUPDWLRQSURYLGHGLQWKLVFODLPLVWUXHDQGFRUUHFWWRWKHEHVWRIP\NQRZOHGJH
 LQIRUPDWLRQDQGUHDVRQDEOHEHOLHI




 8    /s/Jeremy Anthony
      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      Signature
                                                                                    01/21/2021
                                                                            'DWHBBBBBBBBBBBBBBB




 Print:BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        Anthony, Jeremy                                                            VP Loan Documentation
                                                                                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        First Name           Middle Name      Last Name              7LWOH


 Company Wells Fargo Bank, N.A.
         _B____________________BB____________________________________

 Address    MAC N9286-01Y
            ___________________________B_________BB______BB______________
            Number                  Street

            1000 Blue Gentian Road
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            $GGUHVV

             Eagan                                   MN      55121-7700
            BBBB_______________________________________________BBBBBBBB__
              City                                       State      ZIPCode



                     800-274-7025                                                  NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone BBBBBBBBBBBBBBBBBBBBBBBBB                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                  (PDLO




Official Form 410S1                                       1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                            page 
           Case 18-20693-tnw           Doc       Filed 01/21/21 Entered 01/21/21 14:56:39                      Desc Main
                                                  Document
                      UNITED STATES BANKRUPTCY COURT           Page 3 of 7

                                                        Eastern District of Kentucky


                                                     Chapter 13 No. 1820693
                                                     Judge: Tracey N. Wise

In re:
Sandra K. Sterling
                                           Debtor s 

                                           CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before January 22, 2021 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                             %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                     Sandra K. Sterling
                                     9952 Cobblestone Blvd.

                                     Independence KY 41051



                                    %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                     N/A




Debtor’s Attorney:                  %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                     Dolores L. Dennery

                                     PO Box 121241

                                     Covington KY 41012


                                    %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                     N/A




Trustee:                            %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                     Beverly M. Burden

                                     PO Box 2204

                                     Lexington KY 40588

                                                            @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
                                                            /s/Jeremy Anthony
                                                            VP Loan Documentation
                                                            Wells Fargo Bank, N.A.
Case 18-20693-tnw                     Doc           Filed 01/21/21 Entered 01/21/21 14:56:39                                                     Desc Main
                                                                  Page 4Escrow
                                                                         of 7 Review Statement
                                    Return Mail Operations
                                    PO Box 14547     Document           For informational purposes only
                                    Des Moines, IA 50306-4547
                                                                                              Statement Date:                                 January 11, 2021
                                                                                              Loan number:
                                                                                              Property address:
                                                                                                   9952 COBBLESTONE BLVD
                                                                                                   INDEPENDENCE KY 41051-8520


                                                                                              Customer Service
                                                                                                    Online                           Telephone
                                                                                                    wellsfargo.com                   1-800-340-0473
             RONALD E STERLING JR
                                                                                                    Correspondence                   Hours of operation
             SANDRA K STERLING                                                                      PO Box 10335                     Mon - Fri 7 a.m. - 7 p.m. CT
             9952 COBBLESTONE BLVD                                                                  Des Moines, IA 50306
             INDEPENDENCE KY 41051                                                                  To learn more, go to:
                                                                                                    wellsfargo.com/escrow


                                                                                                       We accept telecommunications relay service calls



   PLEASE NOTE: If you are presently seeking relief (or have previously been granted
   relief) under the United States Bankruptcy Code, this statement is being sent to you
   for informational purposes only. The summaries below are based on the terms of the
   loan and are provided for informational purposes only.
   These amounts are governed by the terms of the loan unless otherwise reduced by an
   order of the bankruptcy court. Because the amounts billed for the escrow items can
   change over time, we review the escrow account at least once per year to ensure there
   will be enough money to make these payments. Once the review is complete, we send
   the escrow review statement, also known as the escrow account disclosure statement.
                                                                                                The escrow account has a shortage of
   Here's what we found:
        • Required Minimum Balance: The escrow account balance is projected to                               $83.44
           fall below the required minimum balance. This means there is a shortage.

        •   Payments: As of the March 1, 2021 payment, the contractual portion of the
            escrow payment decreases.



     Part 1 - Mortgage payment

            Option 1                Pay the shortage amount over 12 months
                                     Previous payment through New payment beginning with
                                     02/01/2021 payment date   the 03/01/2021 payment
                                                                                                   Option 1: No action required
    Principal and/or interest                  $398.83                   $398.83

    Escrow payment                             $349.94                   $343.54               Starting March 1, 2021 the new contractual
    Total payment amount
                                                                                               payment amount will be $742.37
                                               $748.77                  $742.37

            Option 2                Pay the shortage amount of $83.44
                                     Previous payment through New payment beginning with
                                     02/01/2021 payment date   the 03/01/2021 payment
                                                                                                   Option 2: Pay shortage in full
    Principal and/or interest                  $398.83                   $398.83

    Escrow payment                             $349.94                   $336.59               Starting March 1, 2021 the new contractual
    Total payment amount                                                                       payment amount will be $735.42
                                               $748.77                  $735.42




                                                         See Page 2 for additional details.


                                           Note: If you are presently seeking relief (or have previously been granted relief) under the United
                                           States Bankruptcy Code, this coupon is being provided for informational purposes only. If your
                                           Chapter 13 plan calls for your Chapter 13 Trustee to make the on-going post-petition mortgage
                                           payments, please contact your attorney or the Trustee’s office before directly sending any
                                           amounts relating to this escrow shortage

                                                                     If you choose to pay the shortage in full as referenced in Option 2, detach this coupon
                                                                     and mail it along with a check for $83.44 to the address that appears on this coupon.
     RONALD E STERLING JR
     SANDRA K STERLING                                               This payment must be received no later than March 1, 2021.


                 Wells Fargo Home Mortgage
                 PO Box 10394
                 Des Moines, IA 50306-0394




            708                           6 10 02 00074877 00073542 00083221 00008344 8
                                                                                                                                                Page 2 of 3
Case 18-20693-tnw                    Doc
                                   Filed 01/21/21 Entered 01/21/21 14:56:39
                                                                    Loan Number: Desc Main

                                    Document
        Part 2 - Payment calculations
                                                 Page 5 of 7
   For the past review period, the amount of the escrow items was $2,268.04. For the coming year, we expect the amount paid from escrow to be
   $4,039.05.

   How was the escrow payment calculated?
   To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
   escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
   determine the escrow amount.

   The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
   through the date of the analysis.



   Escrow comparison

                                                                                                                                          New monthly
                                      06/18 - 05/19     03/19 - 02/20        03/20 - 01/21   03/21 - 02/22
                                                                                                                         # of               escrow
                                        (Actual)          (Actual)             (Actual)       (Projected)
                                                                                                                        months              amount

   Property taxes                          $2,076.00          $2,100.53          $2,095.93      $2,095.93        ÷         12       =          $174.66
   Property insurance                       $1,707.19         $1,760.12             $0.00       $1,760.12        ÷         12       =          $146.68
   Total taxes and insurance                $3,783.19        $3,860.65           $2,095.93      $3,856.05        ÷         12       =          $321.34
   Escrow shortage                             $0.00             $50.62            $182.35         $83.44        ÷         12       =             $6.95**
   Mortgage insurance                        $231.49            $213.22            $172.11        $183.00        ÷         12       =            $15.25

   Total escrow                            $4,014.68          $4,124.49          $2,450.39      $4,122.49        ÷         12       =          $343.54


   **
    This amount is added to the payment if Option 1 on page 1 is selected.


   Projected escrow account activity over the next 12 months
   To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
   greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
   balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                     (Calculated in Part 3 - Escrow account projections
   Lowest projected escrow balance March, 2021                                     $287.70           table)

   Bankruptcy adjustment‡                                              +            $271.54

   Minimum balance for the escrow account†                             -           $642.68           (Calculated as: $321.34 X 2 months)


   Escrow shortage                                                     =            -$83.44


   ‡
    This adjustment of $271.54, is the remaining amount of the pre-petition escrow shortage included in our proof of claim being paid through the
   confirmed bankruptcy plan.
   †
    The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
   account, we add the yearly escrow payments, and divide by 12 (this amount does not include mortgage insurance). We take this amount and multiply
   it by 2 as allowed by state laws and/or the mortgage contract to determine the cash reserve.
Case 18-20693-tnw                    Doc           Filed 01/21/21 Entered 01/21/21 14:56:39
                                                                                    Loan Number:
                                                                                                 Desc    Main
                                                                                                  Page 3 of 3

                                                    Document     Page 6 of 7
     Part 3 - Escrow account projections
   Escrow account projections from March, 2021 to February, 2022
                                           What we
                 Payments to               expect to                                                                    Projected escrow        Balance required
   Date            escrow                   pay out         Description                                                     balance              in the account
   Feb 2021                                                 Starting balance                                                  $1,726.48                   $2,081.46
   Mar 2021           $336.59                    $15.25     FHA Insurance                                                    $2,047.82                    $2,402.80
   Mar 2021              $0.00                $1,760.12     SAFECO                                                             $287.70                    $642.68
   Apr 2021           $336.59                    $15.25     FHA Insurance                                                      $609.04                     $964.02
   May 2021           $336.59                    $15.25     FHA Insurance                                                      $930.38                    $1,285.36
   Jun 2021           $336.59                    $15.25     FHA Insurance                                                     $1,251.72                   $1,606.70
   Jul 2021           $336.59                    $15.25     FHA Insurance                                                     $1,573.06                   $1,928.04
   Aug 2021           $336.59                    $15.25     FHA Insurance                                                    $1,894.40                    $2,249.38
   Sep 2021           $336.59                    $15.25     FHA Insurance                                                     $2,215.74                   $2,570.72
   Oct 2021           $336.59                    $15.25     FHA Insurance                                                     $2,537.08                   $2,892.06
   Oct 2021              $0.00                $1,753.33     KENTON COUNTY (W)                                                  $783.75                    $1,138.73
   Oct 2021              $0.00                 $342.60      INDEPENDENCE CITY (W)                                              $441.15                     $796.13
   Nov 2021           $336.59                    $15.25     FHA Insurance                                                      $762.49                    $1,117.47
   Dec 2021           $336.59                    $15.25     FHA Insurance                                                    $1,083.83                    $1,438.81
   Jan 2022           $336.59                    $15.25     FHA Insurance                                                     $1,405.17                   $1,760.15
   Feb 2022           $336.59                    $15.25     FHA Insurance                                                     $1,726.51                   $2,081.49

   Totals           $4,039.08                $4,039.05



     Part 4 - Escrow account history
   Escrow account activity from March, 2020 to February, 2021
                         Deposits to escrow                   Payments from escrow                                                        Escrow balance
      Date      Actual      Projected Difference          Actual   Projected Difference                 Description           Actual         Projected Difference
   Mar 2020                                                                                          Starting Balance         -$2,512.81     $2,024.50       -$4,537.31
   Mar 2020       $995.70        $334.74      $660.96        $0.00             $17.43     -$17.43    FHA Insurance             -$1,517.11     $2,341.81      -$3,858.92

   Mar 2020        $0.00          $0.00         $0.00        $0.00        $1,707.19     -$1,707.19   SAFECO                    -$1,517.11      $634.62       -$2,151.73

   Mar 2020        $0.00          $0.00         $0.00        $17.43            $0.00       $17.43    FHA Insurance            -$1,534.54       $634.62       -$2,169.16

   Apr 2020       $331.90        $334.74       -$2.84        $17.43            $17.43       $0.00    FHA Insurance           -$1,220.07        $951.93       -$2,172.00

   May 2020      $663.80         $334.74      $329.06        $0.00             $17.43     -$17.43    FHA Insurance             -$556.27       $1,269.24      -$1,825.51

   May 2020        $0.00          $0.00         $0.00        $15.25            $0.00       $15.25    FHA Insurance              -$571.52      $1,269.24      -$1,840.76

   Jun 2020        $0.00         $334.74     -$334.74        $0.00             $17.43     -$17.43    FHA Insurance              -$571.52      $1,586.55      -$2,158.07

   Jun 2020        $0.00          $0.00         $0.00        $15.25            $0.00       $15.25    FHA Insurance             -$586.77       $1,586.55      -$2,173.32

   Jul 2020       $681.84        $334.74      $347.10        $0.00             $17.43     -$17.43    FHA Insurance               $95.07      $1,903.86       -$1,808.79

   Jul 2020        $0.00          $0.00         $0.00        $15.25            $0.00       $15.25    FHA Insurance               $79.82      $1,903.86       -$1,824.04

   Aug 2020       $349.94        $334.74       $15.20        $0.00             $17.43     -$17.43    FHA Insurance              $429.76       $2,221.17       -$1,791.41

   Aug 2020        $0.00          $0.00         $0.00        $15.25            $0.00       $15.25    FHA Insurance               $414.51      $2,221.17      -$1,806.66

   Sep 2020       $349.94        $334.74       $15.20        $0.00             $17.43     -$17.43    FHA Insurance              $764.45      $2,538.48       -$1,774.03

   Sep 2020        $0.00          $0.00         $0.00        $15.25            $0.00       $15.25    FHA Insurance              $749.20      $2,538.48       -$1,789.28

   Oct 2020      $699.88         $334.74      $365.14        $0.00             $17.43     -$17.43    FHA Insurance            $1,449.08       $2,855.79      -$1,406.71

   Oct 2020        $0.00          $0.00         $0.00     $1,753.33       $1,757.93        -$4.60    KENTON COUNTY (W)         -$304.25       $1,097.86      -$1,402.11

   Oct 2020        $0.00          $0.00         $0.00      $342.60         $342.60          $0.00    INDEPENDENCE CITY (W)     -$646.85        $755.26       -$1,402.11

   Oct 2020        $0.00          $0.00         $0.00        $15.25            $0.00       $15.25    FHA Insurance             -$662.10        $755.26       -$1,417.36

   Nov 2020        $0.00         $334.74     -$334.74        $0.00             $17.43     -$17.43    FHA Insurance             -$662.10       $1,072.57      -$1,734.67

   Nov 2020        $0.00          $0.00         $0.00        $15.25            $0.00       $15.25    FHA Insurance             -$677.35       $1,072.57      -$1,749.92

   Dec 2020      $699.88         $334.74      $365.14        $0.00             $17.43     -$17.43    FHA Insurance               $22.53      $1,389.88       -$1,367.35

   Dec 2020        $0.00          $0.00         $0.00        $15.25            $0.00       $15.25    FHA Insurance                 $7.28     $1,389.88       -$1,382.60

   Jan 2021     $1,399.76        $334.74    $1,065.02        $0.00             $17.43     -$17.43    FHA Insurance            $1,407.04       $1,707.19        -$300.15
   (estimate)

   Jan 2021        $0.00          $0.00         $0.00        $15.25            $0.00       $15.25    FHA Insurance             $1,391.79      $1,707.19        -$315.40

   Feb 2021       $349.94        $334.74       $15.20        $15.25            $17.43      -$2.18    FHA Insurance            $1,726.48      $2,024.50        -$298.02
   (estimate)

   Totals       $6,522.58    $4,016.88      $2,505.70     $2,283.29     $4,016.88       -$1,733.59




   Wells Fargo Home Mortgage is a division of Wells Fargo Bank, N.A. ©2019 Wells Fargo Bank, N.A. All rights
   reserved. NMLSR ID 399801 9/19
Case 18-20693-tnw   Doc   Filed 01/21/21 Entered 01/21/21 14:56:39   Desc Main
                           Document     Page 7 of 7
